Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 1 of 69




                         Exhibit “5”
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 2 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 3 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 4 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 5 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 6 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 7 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 8 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 9 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 10 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 11 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 12 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 13 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 14 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 15 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 16 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 17 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 18 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 19 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 20 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 21 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 22 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 23 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 24 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 25 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 26 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 27 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 28 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 29 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 30 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 31 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 32 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 33 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 34 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 35 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 36 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 37 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 38 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 39 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 40 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 41 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 42 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 43 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 44 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 45 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 46 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 47 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 48 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 49 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 50 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 51 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 52 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 53 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 54 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 55 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 56 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 57 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 58 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 59 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 60 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 61 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 62 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 63 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 64 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 65 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 66 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 67 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 68 of 69
Case 09-14814-gwz   Doc 729-3   Entered 11/13/09 17:25:08   Page 69 of 69
